             Case 1:13-cv-00346-MBH Document 5 Filed 05/02/14 Page 1 of 12
                                         fiifl,qtrl'-q'E
                                         rrti$   a'slEa'.fo
             Iln tbt@nftp! btstel@ourt of fr[erul @lfthFD
                                                No. 13-346C                   MAY 2    2Ci4
                                            Filed: May 2,2014
                                                                            rHftrtoor'J&?nf.
     * *:!     * * * * * * * * * * * + * * **          ,.
                                                       ,t
     HERMAN LEON BRICKEY,                                     Pro Se Plaintiff; Motion to
                            Plaintiff,                        Dismiss; Lack of Subject Matter
                                                              Jurisdiction; 28 U.S.C. g 1495;
                       v.                                     28 U.S.C. S 2513; Torts; !4
                                                              Forma Pauperis; 28 U.S.C. S
     UNITED STATES,
                                                              1915.
                            Defendant.
    *:l*********:*'tj.**


           Herman Leon Brickey, San Antonio, TX, pro se.

      Tanya B. Koenig, Trial Attorney, Commercial Litigation Breach, Civil Division,
United States Department of Justice, Washington, D.C., for the defendant. With her
were Robert E. Kirschman, Jr., Director, Commercial Litigation Branch, and Stuart F.
Delery, Assistant Attorney General, Civil Division, Department of Justice.

                                                  ORDER
HORN. J.

          Pro se plaintiff Herman Leon Brickey filed what he identified as                     an
'ADMIN|STRAT|VE TORT CLATM NO. TRT-SCR-2o12-03822'n in the United states
court of Federal claims, although he titled and referred to his complaint as filed "lN
THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF TEXAS
SAN ANTONIO DlVlS|ON.' Plaintiff's two page, handwritten complaint is styled as a
letter to a judge, albeit with the caption typical of a complaint. Based on the
attachments included with plaintiff's complaint, it appears that on October 16, 2012.
plaintiff filed a complaint in the United States District Court for the Western District of
Texas, San Antonio Division, alleging that he was wrongfully imprisoned ,,FOR
RELIGIOUS FREEDOM" in federal prisons in Oklahoma and Texas. Plaintiff states that
he "WANT[S] $50,000.00 FOR PUNIT|VE DAMAGES AND MENTAL ANGUTSH I HAVE


1
 capitalization, grammar and spelling are as they appear in the documents submitted
by Mr. Brickey. Mr. Brickey's handwritten complaint concludes with the post script: ,,1
AM SORRY I DON'T KNOW HOW TO TYPE OR USE A COMPUTER OR KNOW HOW
TO USE ONE, PLEASE FORGIVE ME FOR THIS, AND I HOPE COURT WILL ALLOW
MY CASE TO BE HEARD, THANK YOU, YOUR HONOR. SIR !'
        Case 1:13-cv-00346-MBH Document 5 Filed 05/02/14 Page 2 of 12




SUFFERED THRU 45 YRS OF MENTAL ANGUISH. TURNED DOWN MANY TIMES
FOR JOBS AS BEING A FELON !" Plaintiff adds:

         TOTAL OWED ME IS $74,640.00. I AWAIT MY JUST PAYMENT
    , MY
      FROM UNITED STATES GOVERNMENT FOR WRONGFUL
       IMPRISONMENT.          I   AM OWED RIGHTFUL PAYMENT, AND              HOPE
       JUSTICE WILL BE GMNTED ME, SOMETHING ?

Plaintiff's October 16, 2012 complaint filed in the United States District Court for the
Western District of Texas was dismissed "without prejudice for lack of jurisdiction." See
Hermal Leon Brickevv. United States, Case No.5:12-CV-00991 (W.D. Tex. Mar. 19,
2013).'

        Plaintiff attached multiple documents to his complaint filed in this court. One
such document is a May 17,2013 letter addressed to "Your Honor," apparently intended
for a judge of this court. In the May 17,2013 lefter plaintiff states that he "tried to get
Justice and compensation for wrongful lmprisonment. Two Judges here in san Antonio
Federal Court said they Lacked Jurisdiction, Judge Primomo stated in his Legal
document, a Federal Claim Judge has jurisdiction." Plaintiff adds:

       I should at least be paid minimum wages for my hours I have figured out
       and is Just for wrongful imprisonment.

       Plaintiff continues:

       I sent a letter to the Federal Court here to a Federal Claim Judge to
      Forward to him, I called several days, later to Clerks [sic] Office and they
      said they put my letter in the Files and closed my case and did not
      Fonrvard my letter to a Federal Claim Judge, this is Not Justice. I am 6g
      yrs old 3-1-45 on Disability, I Hope you will pay me some compensation.

      As another attachment to the complaint, plaintiff submitted a photocopy of         a
March 12,2008 "certificate of Pardon lssued to Herman Leon Brickey," pursuant to a
Proclamation of Pardon, dated January 21 , 1977, issued by president Jimmy carter.
The photocopy of the Certificate of Pardon submitted with plaintiffs complaint is cut off


' Judge Xavier Rodriguez, when dismissing plaintiff's case filed in the united states
District court for the western District of rexas, adopted a memorandum and
recommendation signed by a United States Magistrate Judge, John W. primomo, wno
concluded that, "only the court of Federal claims has jurisdiction" over Mr. Brickey,s
complaint "to recover damages sustained during his imprisonment in the 1960s
pursuant to a conviction for which he received a pardon in 1g77 from then-president
Jimmy Carter."
          Case 1:13-cv-00346-MBH Document 5 Filed 05/02/14 Page 3 of 12



on the right hand margin, making certain words difficult to read. The photocopy of the
Certificate of Pardon appears to grant Mr. Brickey a pardon from his conviction for
violation of the Military Selective Service Act "irrespective of the dat [sic] of any offense
against the United States of America . . . ."

        Plaintiffs complaint in this court was filed without the requisite filing fee, or a
motion to proceed in forma pauoeris. lnstead, Mr. Brickey attached the Application to
Proceed in Forma Pauoeris he had previously filed in the United States District Gourt for
the Western District of Texas case. In plaintiffs October 16, 2012 Application to
Proceed in Forma Pauoeris submitted to the United states District court for the
western District of rexas, plaintiff indicated that he had been unemployed since August
1999. He indicated his only sources of income were a social security supplement, social
security disability and food stamps. He also claimed he did not have any cash on hand
or money in a savings or checking account. He noted that he had a 1999 Mercury
Marquis with 230,000 miles with an estimated value of $500.00. He stated on his
Application that he "CAN BARELY AFFORD GAS FOR My CAR, AS I NEED tT TO GO
TO STORE AND DOCTORS OFFICE.'

       In response to plaintiff's complaint, defendant filed a motion to dismiss plaintiffs
complaint for lack of subject matter jurisdiction pursuant to Rule 12(b)(1 ) of the Rules of
the United states court of Federal claims (RCFC) (2013), or, in the alternative, RCFC
12(bxo), for failure to state a claim upon which relief can be granted. Defendant argues
that plaintiffs complaint, which defendant construes as "one for compensation based
upon unjust conviction and imprisonment pursuant to 28 U.S.C. g 1495 and 2g U.S.C.
S 2513,'does not comply with the statutory requirements specified in 2g U.S.C.
S 2513,' and, therefore, should be dismissed. To date, plaintiff has not responded to the


3
    Specifically, 28 U.S.C. g 2513 states:

         (a) Any person suing under section 1495 of this tiile must allege and prove
             that:

                 (1) His conviction has been reversed or set aside on the
                 ground that he is not guilty of the offense of which he was
                 convicted, or on new trial or rehearing he was found not
                 guilty of such offense, as appears from the recoro or
                 certificate of the court setting aside or reversing such
                 conviction, or that he has been pardoned upon the stated
                 ground of innocence and unjust conviction and

                 (2) He did not commit any of the acts charged or his acts,
                 deeds,   or omissions in connection with such charge
                 constituted no offense against the United States, or any
           Case 1:13-cv-00346-MBH Document 5 Filed 05/02/14 Page 4 of 12



government's motion to dismiss, although plaintiff has been allotted more time than
provided for under the court's Rules.

                                               DrscussroN
        When determining whether a complaint filed by a pro € plaintiff is sufficient to
invoke review by a court, pro se plaintiffs are entitled to liberal construction of their
pleadings. See Haines v. Kerner, 404 U.S. 519, 520-21 (requiring that allegations
contained in a pro se complaint be held to "less stringent standards than formal
pleadings drafted by lawyers"), reh'q denied,405 U.S. 948 (1972); see also Erickson v.
Pardus, 551 U.S. 89, 94 (2007); Huqhes v. Rowe,449 U.S. 5, 9-10 (1980); Estetle v.
Gamble,429 U.S.97, 106 (1976), reh'q denied,429 U.S. 1066 (1977). "However,
"'[t]here is no duty on the part of the trial court to create a claim which [the plaintiffl has
not spelled out in his [or her] pleading.""' Lenqen v. United States, 100 Fed. C|.317,
328 (2011) (alterations in original) (quoting Scoqin v. United States, 33 Fed. Cl. 285,


                   State, Territory or the District of Columbia, and he did not
                   by misconduct or neglect cause or bring about his own
                   orosecution

          (b) Proof of the requisite facts shall be by a certificate of the court or
              pardon wherein such facts are alleged to appear, and other evidence
              thereof shall not be received.

          (c) No pardon or certified copy of a pardon shall be considered by the
              United States Court of Federal Claims unless it contains recitals that
              the pardon was granted after applicant had exhausted all recourse to
              the courts and that the time for any court to exercise its jurisdiction had
              expired.

          (d) The Court may permit the plaintiff to prosecute such action in forma
              pauperis.

          (e) The amount of damages awarded shall not exceed $100,000 for each
              12-month period of incarceration for any plaintiff who was unjusily
             sentenced    to death and       950,000   for each 12-month period       of
             incarceration for any other plaintiff.

28 u.s.c. s 2513 (2006) (emphasis in originat). section 1495 of tifle 28, referenced in
28 u.s.c. s 2513, provides: "The United states court of Federal claims shall have
jurisdiction to render judgment upon any claim for damages by any person unjusfly
convicted of an offense against the United States and imprisoned.,' 28 U.S.C. S 1496
(2006).
        Case 1:13-cv-00346-MBH Document 5 Filed 05/02/14 Page 5 of 12




293 (1995) (quoting Clark v. Nat'l Travelers Life lns. Co., 518 F.2d 1167, 1169 (6th Cir.
 1975))); see also Bussie v. United States, 96 Fed. Cl. 89, 94, aft'd,443 F. App'x 542
 (Fed. Cir.2011); Minehan v. United States,75 Fed. C|.249,253(2007). "While             ap
se plaintiff is held to a less stringent standard than that of a plaintiff represented by an
attorney, the pro se plaintiff, nevertheless, bears the burden of establishing the Court's
jurisdiction by a preponderance of the evidence." Riles v. United States, 93 Fed. Cl.
 163, 165 (2010) (citing Huohes v. Rowe, 449 U.S. at g and Tavlor v. United States, 303
 F.3d 1357, 1359 (Fed. Cir.) ("Plaintiff bears the burden of showing jurisdiction by a
preponderance of the evidence."), reh'o and reh'q en banc denied (Fed. Cir. 2002)); see
also Hanis v. United States, 113 Fed. Cl. 290, 292 (2013) ("Although plaintiffs
pleadings are held to a less stringent standard, such leniency 'with respect to mere
formalities does not relieve the burden to meet jurisdictional requirements."' (quoting
Minehan v. United States, 75 Fed. Cl. at 253)).

         It is well established that "'subject-matter jurisdiction, because it involves a
 court's power to hear a case, can never be forfeited or waived."' Arbauoh v. Y & H
 Coro., 546 U.S. 500, 514 (2006) (quoting United States v. Cotton, 535 U.S. 625, 630
 (2002)). "[F]ederal courts have an independent obligation to ensure that they do not
 exceed the scope of their jurisdiction, and therefore they must raise and decide
jurisdictional questions that the parties either overlook or elect not to press." Henderson
 ex rel. Henderson v. Shinseki, 131 S. Ct. 1197,1202 (2011); see also Hertz Corp. v.
 Friend,559 U.S.77,94 (2010) ("Courts have an independent obligation to determine
whether subject-matter jurisdiction exists, even when no party challenges it." (citing
Arbauqh v. Y & H Corp., 546 U.S. at 514)); Soecial Devices, Inc. v. OEA. Inc., 269 F.3d
 1340, 1342 (Fed. cir. 2001) ('[A] court has a duty to inquire into its jurisdiction to hear
and decide a case." (citing Johannsen v. Pav Less Druq Stores N.W.. lnc., 918 F.2d
 160, 161 (Fed. Cir. 1990))); View Enq'q. Inc. v. RoboticVision Svs.. lnc., 115 F.3d 962,
963 (Fed. cir. 1997) ("[c]ourts must always look to their jurisdiction, whether the parties
 raise the issue or not."). "The objection that a federal court lacks subject-matter
jurisdiction . . . may be raised by a party, or by a court on its own initiative, at any stage
in the litigation, even aflertrial and the entry of judgment." Arbauoh v. y & H Corp., 346
U.S. at 506; see also Rick's Mushroom Serv.. Inc. v. United States,521 F.3d 1339,
 1346 (Fed. Cir. 2008) ("[A]ny party may challenge, or the court may raise sua sponte,
subject matter jurisdiction at any time." (citing Arbauqh v. y & H Corp., 546 U.S. at 506;
Folden v. United States, 379 F.3d 1344, 1354 (Fed. Cir.), reh'o and reh'q en banc
denied (Fed. Cit. 2004), cert. denied, 545 U.S. 1127 (2OOS)', and fannincL pfrittiFs a
Molnarv. West, 160 F.3d 717,720 (Fed. Cir. 1998))); Pikutin v. United States,97 Fed.
Cl.71,76, appeal dismissed,425 F. App'x 902 (Fed. Cir. 2011). In fact, ,,[s]ubject
matter jurisdiction is an inquiry that this court must raise sua sponte, even where . .      .

neither party has raised this issue." Metabolite Labs.. Inc. v. Lab. Corp. of Am.
Holdinqs, 370 F.3d 1354, 1369 1feO. Cir.
F3d 1481, 1485 (Fed. cir.), reh'q denied and en banc suqoestion declined (Fed. cir.
1998)), reh'o and reh'o en bancdenied (Fed. Cir.2004), cert. oranted in part, 546 U.S.
         Case 1:13-cv-00346-MBH Document 5 Filed 05/02/14 Page 6 of 12




975 (2005), cert. dismissed as improvidentlv qranted, 548 U.S. 124 (2006). "The
objection that a federal court lacks subject-matter jurisdiction . . . may be raised by a
party, or by a court on its own initiative, at any stage in the litigation, even after trial and
the entry of judgment." Arbauqh v. Y & H Corp., 546 U.S. at 506; see also Centr. Pines
Land Co., L.L.C. v. United States,697 F.3d 1360, 1364 n.1 (Fed. Cir.2012) ("An
objection to a court's subject matter jurisdiction can be raised by any party or the court
at any stage of litigation, including after trial and the entry of judgment.");          &K!
Mushroom Serv., lnc. v. United States,521 F.3d at 1346 ("[A]ny party may challenge, or
the court may raise sua sponte, subject matter jurisdiction at any time." (citing Arbauqh
v. Y & H Corp., 546 U.S. at 506; Folden v. United States, 379 F.3d 1344, 1354 (Fed.
Cir.), reh'q and reh'q en banc denied (Fed. Cn. 2004), cert. denied, 545 U.S. 1127
(2005); and Fanninq, Phillips & Molnar v. West, 160 F.3d 717,720 (Fed. Cir. 1998)));
Pikulin v. United States, 97 Fed. Cl. 71 , 76, appeal dismissed , 425 F . App'x 902 (Fed.
cn.2011).

         Pursuant to the RCFC and the Federal Rules of Civil Procedure, a plaintiff need
only state in the complaint "a short and plain statement of the grounds for the court's
jurisdiction," and "a short and plain statement of the claim showing that the pleader is
entitled to relief." RCFC 8(aX1), (2) (2013); Fed. R. Civ. P.8(a)(1), (2) (2014);see also
Ashcroft v. lqbal, 556 U.S. 662, 677-78 (2009) (citing Bell Atl. Corp. v. Twomblv, 550
 U.S. 544, 555-57, 570 (2007\\. "Determination of jurisdiction starts with the complaint,
whrch must be well-pleaded in that it must state the necessary elements of the plaintiffs
claim, independent of any defense that may be interposed." Hollev v. United States,
 124 F.3d 1462, 1465 (Fed. Cir.) (citing Franchise Tax Bd. v. Constr. Laborers Vacation
Trust,463 U.S. 1 (1983)), reh'q denied (Fed. Cir. 1997); see also Klamath TribeClaims
 Comm. v. United States, 97 Fed. Cl. 203, 208 (2011); Gonzalez-McOaulley Inv. Grp..
 lnc. v. United States, 93 Fed. Cl. 710, 713 (2010). "Conclusory allegations of law and
 unwarranted inferences of fact do not suffice to support a claim." Bradlev v. Chiron
 Corp., 136 F.3d 1317,1322 (Fed. Cir. 1998); see also McZeal v. Sprint Nextel Corp.,
 501 F.3d 1354, 1363 n.9 (Fed. Cn.2007) (Dyk, J., concurring in part, dissenting in part)
 (quoting C. Wright and A. Miller, Federal Practice and Procedure S 1286 (3d ed. 2004)).
 "A plaintiff's factual allegations must'raise a right to relief above the speculative level'
 and cross'the line from conceivable to plausible."' Three S Consultinq v. United States,
 104 Fed. Cl.51O, 523(2012) (quoting Bell Atl. Corp. v. Twomblv,550 U.S. at555)' affd'
 No. 2012-5104, 2014 WL 1394969 (Fed. Cir. Apr. 11, 2014). As stated in Ashcroft v.
 lqbal, "[a] pleading that offers 'labels and conclusions' or'a formulaic recitation of the
 elements of a cause of action will not do.' 550 U.S. at 555. Nor does a complaint suffice
 if it tenders 'naked assertion[s]' devoid of 'further factual enhancement."' Ashcroft v'
 lqbal, 556 U.S. at 678 (quoting Bell Atl. Corp. v. Twomblv, 550 U.S at 555).

      When deciding a case based on a lack of subject matter jurisdiction or for failure
to state a claim, this court must assume that all undisputed facts alleged in the
complaint are true and must draw all reasonable inferences in the non-movant's favor.
          Case 1:13-cv-00346-MBH Document 5 Filed 05/02/14 Page 7 of 12




See Erickson v. Pardus, 551 U.S. 89, 94 (2007) ("ln addition, when ruling on             a
defendant's motion to dismiss, a judge must accept as true all of the factual allegations
contained in the complaint." (citing Bell Atl. Corp. v. Twomblv, 550 U.S. at 555-56 (citing
Swierkiewicz v. Sorema N. A., 534 U.S. 506, 508 n.1 (2002)))); Scheuer v. Rhodes, 416
U.S. 232, 236 (1974) ("Moreover, it is well established that, in passing on a motion to
dismiss, whether on the ground of lack of jurisdiction over the subject matter or for
failure to state a cause of action, the allegations of the complaint should be construed
favorably to the pleader."), abroqated on other qrounds by Harlow v. Fitzqerald, 457
U.S.800 (1982), recoqnized by Davis v. Scherer,468 U.S. 183, 190 (1984); United Pac.
lns. Co. v. United States, 464 F.3d 1325, 1327-28 (Fed. Cir. 2006); Samish lndian
Nation v. United States,419 F.3d'1355, 1364 (Fed. Cir.2005), Boise Cascade Corp. v.
United States, 296 F.3d 1339, 1343 (Fed. Cir.), reh'q and reh's en banc denied (Fed.
Cr.2002), cert. denied,538 U.S.906 (2003).

       The Tucker Act grants jurisdiction to this court as follows:

       The United States Court of Federal Claims shall have jurisdiction to render
       judgment upon any claim against the United States founded either upon
       the Constitution, or any Act of Congress or any regulation of an executive
       department, or upon any express or implied contract with the United
        States, or for liquidated or unliquidated damages in cases not sounding in
       tort.

28 U.S.C. S 1a91(aXl) (Supp. V 2011). As interpreted by the United States Supreme
Court, the Tucker Act waives sovereign immunity to allow jurisdiction over claims
against the United States (1) founded on an express or implied contract with the United
States, (2) seeking a refund from a prior payment made to the government, or (3) based
on federal constitutional, statutory, or regulatory law mandating compensation by the
federal government for damages sustained. See United States v. Navaio Nation, 556
U.S.287,289-90 (2009); United States v. Mitchell,463 U.S. 206,216 (1983); see also
Greenlee Cntv.. Ariz. v. United States,487 F.3d 871,875 (Fed. Cir.), reh'q and reh'o en
banc denied (Fed. Cir. 2007), cert. denied, 552 U.S. 11a2 (2008); Palmer v. United
States, 168 F.3d 1310, 1314 (Fed. Cir. 1999).

      "Not every claim invoking the Constitution, a federal statute, or a regulation is
cognizable under the Tucker Act. The claim must be one for money damages against
the United States. . . ." United States v. Mitchell,463 U.S. at 216; see also United
States v. White Mountain Aoache Tribe, 537 U.S. 465, 472 (2003); Smith v. United
States,709 F.3d 11'14, 1116 (Fed. Cir.), cert. denied, 134 S. Ct.259 (2013);
RadioShack Corp. v. United States,566 F.3d 1358, 1360 (Fed. Cir.2009); Rick's
Mushroom Serv., lnc. v. United States, 521 F.3d at 1343 ("[P]laintiff must. . ' identify a
substantive source of law that creates the right to recovery of money damages against
the United States."). In Ontario Power Generation. Inc. v. United States, the United
          Case 1:13-cv-00346-MBH Document 5 Filed 05/02/14 Page 8 of 12




States Court of Appeals for the Federal Circuit identified three types of monetary claims
for which jurisdiction is lodged in the United States Court of Federal Claims. The court
wrote:

      The underlying monetary claims are of three types. First, claims
      alleging the existence of a contract between the plaintiff and the
      government fall within the Tucker Act's waiver. . . . Second, the Tucker
      Act's waiver encompasses claims where "the plaintiff has paid money over
      to the Government, directly or in effect, and seeks return of all or part of
      that sum." Eastport S.S. lCorp. v. United States, 178 Ct. Cl. 599,605-06,]
      372 F.2d [1002,] 1007-08 (1967)l (describing illegal exaction claims as
      claims "in which 'the Government has the citizen's money in its pocket"'
      (quoting Clapp v. United States,127 Cl. C|.505, 117 F. Supp.576' 580
      (1954)) . . . . Third, the Court of Federal Claims has jurisdiction over those
      claims where "money has not been paid but the plaintiff asserts that he is
      nevertheless entitled to a payment from the treasury." Eastport S S., 372
      F.2d at   7.   Claims in this third category, where no payment has been
      made to the government, either directly or in effect, require that the
      "particular provision of law relied upon grants the claimant, expressly or by
       implication, a right to be paid a certain sum." ld.; see also Testan [v.
       United Statesl, 424 U.S. 1352,1401-02 [1976] ("Where the United States is
      the defendant and the plaintiff is not suing for money improperly exacted
       or retained, the basis of the federal claim-whether it be the Constitution, a
       statute, or a regulation-does not create a cause of action for money
       damages unless, as the Court of Claims has stated, that basis'in itself . . ,



       can fairly be interpreted as mandating compensation by the Feqelal
       Government for the damage sustained."' (quoting Eastport S.S., 372 F 2d
       at 1009)). This category is commonly referred to as claims brought under
       a "money-mandating" statute.

ontario PowerGeneration, Inc. v. United States,369 F.3d 1298, 1301 (Fed. Cir.2004);
gecalsgTwp. of Saddle Brookv. United States, 104 Fed. Cl. 101' 106 (2012).

       To prove that a statute or regulation is     money-mandating, a plaintiff must
demonstrate that an independent source of substantive law relied upon "'can fairly be
interpreted as mandating compensation by the Federal Government."' United States v
Navaio Nation, 556 U.S, at 290 (quoting United States v. Testan, 424 U.S. at 4-00); see
                                                    , 537 U S' at 472; U.ni!ed-9!stes-lL
MXqI-, 463 U^Sra 217; Blueoort Co.. LLC v. United States, 533 F.3d 1374'              1383
6eA Cir.2008), cert. denied,555 u.S.        1153  (2009).   The  source of  law   granting
monetary relief must be distinct from the Tucker Act itself. See United States v. Navaio
Nation, 556 U.S. at 290 (The Tucker Act does not create "substantive rights; [it is simply
a1               provision[] that operate[s] to waive sovereign immunity for claims
   -luti.Oiction"l
          Case 1:13-cv-00346-MBH Document 5 Filed 05/02/14 Page 9 of 12




premised on other sources of law (e.9., statutes or contracts)."). "'lf the statute is not
money-mandating, the Court of Federal Claims lacks jurisdiction, and the dismissal
should be for lack of subject matter jurisdiction."' Jan's Helicopter Serv., lnc. v. Fed.
Aviation Admin., 525 F.3d 1299, 1308 (Fed. Cir. 2008) (quoting Greenlee Cntv.. Ariz. v.
United States, 487 F.3d at 876); Fisher v. United States, 402 F.3d 1167 , 1173 (Fed. Cir.
2005) (The absence of a money-mandating source is "fatal to the court's jurisdiction
under the Tucker Act."); Peoples v. United States, 87 Fed. Cl. 553, 565-66 (2009).

        Although the complaint does not include a caption with the court's name and,
therefore, Mr. Brickey's complaint is not in compliance with the form prescribed in RCFC
10(a),4 this court recognizes that pro se plaintiffs should be afforded liberal construction
of their pleadings. See Haines v. Kerner,404 U.S. at520-21. Given this more liberal
approach, and given the instruction by the United States District Court for the Western
District of Texas directing plaintiff to this court, as well as plaintiffls May 17 , 2013 letter
attached to his complaint in this court referencing a "Federal Claims Judge," the       4 g
plaintiff has sufficiently identified this court as the place plaintiff intended to ask for
review of his comolaint.

        Mr. Brickey's alleged wrongful imprisonment claim, however, does not fall within
the jurisdiction of this court. According to 28 U.S.C. S 1495, "[t]he United States Court
of Federal Claims shall have jurisdiction to render judgment upon any claim for
damages by any person unjustly convicted of an offense against the United States and
imprisoned." 28 U.S.C. S 1495. Section 1495 of title 28, therefore, "must be read in
conjunction with 28 U.S.C. S 2513." Humphrev v. United States,52 Fed. Cl. 593, 596
(2002),affd,60F.App'x292(Fed.Cir.2003)(citationsomitted). Asquotedabove,23
U.S.C. S 2513 requires that a plaintiff suing under 28 U.S.C. S 1495, "must allege and
prove" that "[h]is conviction has been reversed or set aside on the ground that he is not
guilty of the offense of which he was convicted . . . or that he has been pardoned upon
the stated ground of innocence and unjust conviction," and, that "[h]e did not commit
any of the acts charged." 28 U.S.C. S 2513(a). In Humphrev, this court indicated,
"[t]hese jurisdictional requirements [of 28 U.S.C. S 1495 and 28 U.S.C. S 2513) are
strictly construed, and a heavy burden is placed upon a claimant seeking relief under
such provisions." Humphrev v. United States, 52 Fed. Cl. at 596. Additionally, as noted
in Svkes v. United States, 105 Fed. C'.231 (2012), "a certificate or pardon must'either
explicitly or by factual recitation' state that the plaintiff has satisfied the requirements of
Section 2513." ld, at 233 (quoting Humphrev v. United States,52 Fed. Cl. at 597).
Plaintiff, however, has not alleged that his conviction was set aside or reversed because
he had not committed, or was not guilty of, the acts underlying his original conviction.
Furthermore, Mr. Brickey has not alleged, nor has he demonstrated, based on the
documents currently before this court, that he has been pardoned on the "ground of

4 RCFC 10(a) states, in part: "[e]very pleading must have a caption with the court's
name, a title, a file number, and a RCFC 7(a) designation." RCFC 10(a) (2013).
        Case 1:13-cv-00346-MBH Document 5 Filed 05/02/14 Page 10 of 12




innocence and unjust conviction." Plaintiff's photocopy of the Certificate of Pardon,
attached to the complaint, although partially cut off on the right margin, making a few
words only partially legible, indicates that Mr. Brickey, "who was convicted, inespective
of the dat [sic]. . . of any offense against the United States of America committed
between August 4, 1964 and . . . in violation of the Military Selective Service Act or any
rule or regulation promulgated t [sic] . . . pardoned by the Proclamation of Pardon of
January 21 , 1977." Nowhere does the photocopy of the Certificate of Pardon state that
Mr. Brickey was pardoned because he was found innocent of the acts for which he was
charged or unjustly convicted. The photocopy of the affidavit by the Pardon Attorney
Ronald L. Rodgers, included with the photocopy of the Certificate of Pardon, to certify
that the copy included is a "true and accurate copy" of the Certificate of Pardon, only
states that the copy is a "record of executive clemency." Although plaintiff alleges in his
complaint'WRONGFUL lN PRISONMENT FOR RELIGIOUS FREEDOM,' he does not
allege he did not commit any of the unnamed acts charged for which he was convicted.
In fact, plaintiff never identifies why he was imprisoned. Therefore, plaintiff's attached
photocopy of the Certificate of Pardon does not comply with the requirements set forth
in 28 U.S.C. S 2513, and cannot be a basis for jurisdiction in this court to review his
claims arising from his alleged wrongful imprisonment.5

5In   determining that this court lacks jurisdiction over plaintiffs complaint because
plaintiff did not comply with 28 U.S.C. S 2513, the court notes two recent unreported
Federal Circuit decisions which address lack of jurisdiction pursuant to 28 U.S.C. $
2513. See Winston v. United States, 465 F. App'x 960, 961-62 (Fed. Cir. 2012) ("The
Claims Court does have limited jurisdiction over unjust imprisonment claims under 28
U.S.C. S 1495. However, in order for the court to hear such claims, a plaintiff must
'allege and prove'that his conviction was: 'reversed or set aside on the ground that he
is not guilty of the offense of which he was convicted, or on new trial or rehearing he
was found not guilty of such offense, as appears from the record or certificate of the
court setting aside or reversing such conviction, or that he has been pardoned upon the
stated ground of innocence and unjust conviction            .'   28 U.S.C. $ 2513(a). Mr.
Winston, however, is still incarcerated and his conviction has not been reversed or set
aside. Therefore, the Claims Court lacked jurisdiction to hear his claim for unjust
imprisonment.") (modification in original) and Johnson v. United States, 411 F. App'x
303, 306 (Fed. Cir. 2010) (affirming the Court of Federal Claims decision to dismiss
plaintiff Johnson's complaint for lack of jurisdiction and for failure to state a claim upon
which relief can be granted), reh'q denied (Fed. Cn. 2011). In Johnson, the Federal
Circuit indicated that "[t]he court correctly determined that Johnson did not and could
not allege that his conviction was reversed or set aside on the grounds of innocence or
pardon, as $ 2513 requires. Even when construed in Johnson's favor, the facts alleged
do not suggest that Johnson's conviction was reversed or set aside on the ground that
he is not guilty, that Johnson was found not guilty in a new trial, or that Johnson was
pardoned upon the stated ground of innocence and unjust conviction. See 28 U.S.C. S
2513 (2006). Accordingly, the Court of Federal Claims correctly held that amendment

                                            10
       Case 1:13-cv-00346-MBH Document 5 Filed 05/02/14 Page 11 of 12




       Moreover, to the extent that plaintiff requests compensation for a tortious act as
the basis for his complaint, as he alleged his case is an "ADMINISTRATIVE TORT
CLAIM NO. TRT-SCR-2O12-03822," the Tucker Act expressly excludes tort claims,
including those committed by federal officials, from the jurisdiction of the United States
Court of Federal Claims." See 28 U.S.C. S 1a91(a)(1); see also Keene Corp. v. United
States, 508 U.S. 200, 214 (1993); Rick's Mushroom Serv.. Inc. v. United States, 521
F.3d at 1343; Alves v. United States, 133 F.3d 1454, 1459 (Fed. Cir. 1998); Brown v.
United States,'105 F.3d 621,623 (Fed. Cir.), reh'qdenied (Fed. Cir. 1997); Golden Pac.
Bancorp v. United States, 15 F.3d 1066, 1070 n.8 (Fed. Cir.), reh'o denied, en banc
suqqestion declined (Fed. Cir.), cert. denied,513 U.S.961 (199a); Sellers v. United
States, 110 Fed. C|.62,66 (2013); Kalickv. United States, 109 Fed. C|.551,558, affd,
541 F. App'x 1000 (Fed. Cir. 2013); Hampel v. United States, 97 Fed. Cl. 235, 238,
affd,429 F. App'x 995 (Fed. Cir.2011), cert. dismissed, 132 S. Ct. 1105 (2012);
Woodson v. United States, 89 Fed. Cl. 640, 650 (2009); McCullouqh v. United States,
76 Fed. Cl. 1, 3 (2006), appeal dismissed,236 F. App'x 615 (Fed. Cir.), reh'o denied
(Fed. Cir.), cert. denied, 552 U.S. 1050 (2007); Aoee v. United States,72 Fed. Ct.284,
290 (2006); Zhenqxino v. United States, 71 Fed. Cl. 732,739, affd, 204 F. App'x 885


of Johnson's complaint would not cure its jurisdictional deficiency." Johnson v. United
States, 411 F. App'x at 306 (internal citation omitted); see also Wood v. United States,
91 Fed. Cl. 569, 578 (2010). The court notes, however, that a 2012 decision of this
court indicated that a claim premised upon 28 U.S.C. S 1495 and 28 U.S.C. S 2513
should be dismissed under RCFC 12(bXO), for failure to state a claim upon which relief
canbegranted. SeeSvkesv.UnitedStates, 105Fed.Cl.at234.lnMr.Brickey'scase,
even if this court were to determine it had jurisdiction over plaintiffs complaint pursuant
to 28 U.S.C. S 1495, Mr. Brickey's case, nevertheless, would be dismissed forfailure to
state a claim upon which relief can be granted, as he fails to allege, or comply with, the
requirements of 28 U.S.C. S 2513.
6
  Also among the documents attached by plaintiff to the submission filed in this court is
a  May 17, 2012 letter from Jason A. Sickler, Regional Counsel from the ,,U.S.
Department of Justice, Federal Bureau of Prisons, south central Regionat office,"
denying plaintiff's claims for "settlement under the Federal Tort Claims Act, 2g U.S.C.
SS 2671 el seg., and authority granted by 28 C.F.R. S 0.172,'for "compensation for lost
wages" plaintiff "allegedly sustained at the Federal Correctional Institution (FCl) in El
Reno, oklahoma and FCI seagoville during the late 1960s." (emphasis in originai). Mr.
sickler explained that, "[t]here is no indication that you sustained any injury caused by
the negligent or wrongful act or omission of any Bureau of prisons employee acting
within the scope of his or her employment." Mr. Sickler continued that "pursuant to 2g
u.s.c. 2401(b) a tort claim against the united states is forever barred unless it is
presented to the appropriate federal agency with [sic] two years after such claims
accrues. Therefore your claim is denied."


                                            11
        Case 1:13-cv-00346-MBH Document 5 Filed 05/02/14 Page 12 of 12



(Fed. Cir.), reh'q denied (Fed. Cir.         2006).   Therefore, this court does not have
jurisdiction over plaintiff's tort claim.

        As indicated above, the plaintiff did not pay the filing fee required to commence
proceedings before the court. In order to provide access to this court to those wno
cannot pay the filing fees mandated by RCFC 77.1(c) (2013), the statute at 28 U.S.C. g
191 5 (2006) permits a court to allow plaintiffs to file a complaint without payment of fees
or security, under specific circumstances. The standard in 28 U.S.C. g 191S(a)(1)for in
forma pauperis eligibility is "unable to pay such fees or give security therefor."
Determination of what constitutes "unable to pay" or unable to "give security therefor,"
and, therefore, whether to allow a plaintiff to proceed in forma pauperis is left to the
discretion of the presiding judge, based on the information submitted by the plaintiff or
plaintiffs. See, e.q., Rowland v. Cal. Men's Colonv. Unit ll Men's Advisorv Council, 506
U.S. 194,217-18 (1993); Fuentes v. United States, 100 Fed. Ct.85,92 (2011). In
Fiebelkorn v. United states, the united states court of Federal claims indicated:

       [T]he threshold for a motion to proceed in forma pauperis is not high: The
       statute requires that the applicant be "unable to pay such fees." 28 U.S.C.
       $ 1915(a)(1). To be "unable to pay such fees" means that paying such
       fees would constitute a serious hardship on the plaintiff, not that such
       payment would render plaintiff destitute.

fieqelkorn v,  Unite         ,77 Fed. Cl. 59,62 (2007); see also Haves v. United States,
71 Fed. cl. 366, 369 (2006). Although not included as a separate motion to proceed 1n
forma pauperis, Mr. Brickey attached to his complaint a copy of the Application to
Proceed in Forma Pauperis he had previously submitted to the United States District
court for the western District of rexas. Recognizing the plaintiffs pro se status, the
court accepts the previously submitted Application to proceed in Forma pauperis as a
motion to proceed in forma pauperis in this court. Although plaintiffs income level and
absence of savings may qualify him for in forma oaupeiis status, as discussed and
determined above, plaintiff's complaint is dismissed for lack of jurisdiction in this court.

                                            coNcLustoN

-S 2513,Because     plaintiff fails to comply with the statutory requirements of 2g U.S.c.
         plaintiff's complaint is DlsMlssED, without preludice. The clerk of court     shall
enter JUDGMENT consistent with this Order.

       IT IS SO ORDERED.

                                                           ARIAN BLANK HORN
                                                                 Judge



                                                lz
